                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

IMPLICIT, LLC,
     Plaintiff,
                                                    Case No. 2:19-cv-00040-JRG-RSP
v.
                                                              LEAD CASE
IMPERVA, INC.
      Defendant.
IMPLICIT, LLC,
     Plaintiff,
                                                    Case No. 2:19-cv-00037-JRG-RSP
v.

JUNIPER NETWORKS, INC.
      Defendant.


PLAINTIFF IMPLICIT, LLC’S OPPOSITION TO DEFENDANT JUNIPER NETWORKS,
INC.’S MOTION TO STAY PENDING DECISION ON TRANSFER MOTIONS (DKT. 174)




Plaintiff’s Response to Juniper’s Motion for Stay
I.        INTRODUCTION

          The Court should deny Juniper’s motion to stay. Juniper’s motion to transfer is not even

fully briefed yet, and the Court will address that motion in due course. Juniper is not entitled to a

stay—right at the Markman hearing—simply on the belief that it will prevail on its transfer motion

and that it doubts that the Court will timely address the motion.

          Under the traditional three-factor test, a stay is not warranted in this case. A stay is unlikely

to simplify the issues. The Juniper case is part of a consolidated case involving two other

Defendants (Fortinet and Imperva). That case will continue regardless of a stay.1 As a result, a

stay of the Juniper case will likely cause duplicate rounds of claim-construction proceedings,

pretrial practice, and discovery (e.g., depositions of Implicit). That work will occur during the

stay for the consolidated Fortinet and Imperva cases and, upon lifting of the stay in the Juniper

case, Implicit will likely have to re-do that work with Juniper.

          In contrast, moving forward while Juniper’s motion to transfer is pending will not

complicate this case or prejudice Juniper. If the Court denies the motion, this case continues here.

And even if the Court grants Juniper’s transfer motion, the intervening work completed here would

transfer along with the Juniper case. The practical effect of a stay will be to delay this case and

risk duplicate effort, regardless of which forum decides the ultimate merits of the Juniper case.

          That delay and duplicate work will prejudice Implicit, increasing its costs. It will also

provide Juniper with a tactical advantage, including two-bites at the claim-construction apple.

          Lastly, the status of this case does not support a stay. This case is almost a year old. The

Markman hearing is set for March 17, 2020 and trial is currently set for July 6, 2020. For these

reasons, and those below, Juniper’s Motion should be denied.



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    Juniper “seeks a stay of the proceedings between it and Implicit[.]” Dkt. No. 174 at 2.


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II.    FACTUAL BACKGROUND

       Implicit filed this infringement case on February 4, 2019. Implicit also filed cases against

Imperva and Fortinet, which were consolidated with the Juniper case for pretrial purposes. Juniper

has filed two transfer motions. Juniper moved to transfer to the Northern District of California in

May, 2019. Case No. 2:19-cv-00037, Dkt. No. 18. Juniper then moved to transfer to the District

of Delaware on December 6, 2019, Case No. 2:19-cv-00040, Dkt. No. 164, resulting in the Court

finding moot the first motion, Dkt. No. 166.

       Juniper filed this motion to stay on December 20, 2019. Dkt. No. 174. By then, this case

had progressed for the better part of a year. The parties exchanged infringement and invalidity

contentions, produced discovery, and began the claim-construction process. By November, 2019,

the parties had identified terms for construction, provided intrinsic and extrinsic evidence support,

and submitted the Patent Local Rule 4-3 Joint Claim Construction and Prehearing Statement. Dkt.

161. The Markman hearing is set for March 17, 2020 and trial is currently set for July 6, 2020.

III.   APPLICABLE LAW

       Courts have inherent power to stay a proceeding, which is a discretionary decision. See

Mirror Worlds Tech., LLC v. Dell Inc., No. 6:13-CV-941, 2014 WL 11268268, at *1 (E.D. Tex.

Sep. 29, 2014). Courts generally consider three factors: (1) “whether a stay will simplify the issues

in question and trial of the case”; (2) “whether a stay will unduly prejudice or present a clear

tactical disadvantage to the nonmoving party”; and (3) “whether discovery is complete and

whether a trial date has been set.” Id.

IV.    ARGUMENT

       A.      A Stay is Unlikely to Simplify the Issues
       A stay is more likely to complicate this case than simplify it. That is because this case

involves Juniper and two other defendants, Fortinet and Imperva, in a consolidated case. Fortinet


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and Imperva have not requested a stay. Imperva has not moved to change venue. This means that

even if the Court were to grant all motions to transfer, the Imperva case would continue.

       The consolidated proceedings will thus continue and address common issues, including the

upcoming Markman hearing and the common depositions of Implicit. This unique circumstance

weighs against a stay. Cf. Papst Licensing GmbH & Co. KG v. Lattice Semiconductor Corp., No.

14-1375-LPS-CJB, 2015 WL 4610356, at *1 (D. Del. Aug. 3, 2015) (“[R]esolving the motion to

stay in this way [denied with leave to renew] will permit the three related cases to proceed on the

same schedule until, at a minimum, the venue issue is addressed …. The defendants in the other

two related cases have not filed motions to stay, and there is some efficiency-related benefit (at

least for now) to having all three cases move forward on the same path”).

       A stay will not eliminate that common work. It will instead, in essence, remove Juniper

from the consolidated case. It will likely force Implicit to litigate, post-stay, with Juniper, issues

it will have already litigated with Fortinet and Imperva. For example, all Defendants have taken

the same claim-construction positions. See Dkt. 161-2. Juniper has not agreed to be bound to any

Markman ruling. Nor has it agreed to be bound by the common discovery sought by the other

Defendants, which would subject Implicit to multiple deposition rounds. The result is the risk that

Implicit will litigate the same issues twice—once with Imperva and Fortinet and once with Juniper.

       Juniper’s Motion fails to address that reality. And all of the above analysis (wrongly)

assumes that the Court will grant Juniper’s motion to transfer—if the Court denies the motion to

transfer, the stay undisputedly would have only delayed the Juniper case and made this case more

complicated. Cf. Pragmantus AV, LLC. v. Yahoo! Inc., No. 11-902-LPS-CJB, 2013 WL 2372206,

at *3 (D. Del. May 30, 2013) (“But more significantly, if one or more of those eventualities do not

later occur, than the proposed stay will likely result in complication, not simplification-it will have




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frozen the progress of this case as discovery nears its end …”) (emphasis in original). In either

case, a stay is unlikely to simplify this case. This factor weighs against a stay.

       B.      A Stay Will Unduly Prejudice Implicit and Present Juniper With a Tactical
               Advantage
       A stay will prejudice Implicit. The delay will impair Implicit’s general right to the timely

enforcement of its patent rights. Trover Group, Inc. v. Dedicated Micros USA, No. 2:13-CV-1047-

WCB, 2015 U.S. Dist. LEXIS 29572, at *8 (E.D. Tex. Mar. 11, 2015). More particularly, a stay

is likely to result in duplicate litigation and undo the benefits of the consolidation of these cases

for pretrial matters, including claim construction. That will prejudice Implicit by increasing its

costs to litigate this case. This factor weighs against a stay.

       Juniper does not address that prejudice in its Motion. Juniper instead blames Implicit for

not suing Juniper earlier, arguing that further delay will therefore not prejudice Implicit. Mot. at

3. That misses the point: the question is prospectively what prejudice a stay will cause, not the

passage of time before suit commenced. And, on that question, a stay will prejudice Implicit by

giving rise to duplicate litigation and discovery, increased the litigation cost, and a longer time

horizon for Implicit to resolve this case on the merits.

       A stay will also provide Juniper with a tactical advantage, which Juniper’s Motion does

not address. For example, it will allow Juniper to watch the Markman proceedings unfold and

then, post-stay, obtain a second bite at the claim-construction apple. Juniper has not stipulated that

it would be bound by any Markman ruling or that it would not further litigate claim-construction

issues. Nor has it agreed to forego additional depositions of Implicit. A stay will provide Juniper

with a tactical advantage at this important case juncture.

       The timing of Juniper’s Motion to Stay further shows that a stay will provide a tactical

advantage compared to cases in which a movant seeks a stay earlier in the case. See Pragmantus,



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2013 WL 2372206, at *4 (D. Del. May 30, 2013) (explaining that the courts may look to the

“timing of the request for a stay” in evaluating this factor). Juniper did not seek a stay when it

filed its first motion to transfer nearly nine months ago—though its basis would have been the

same. This case was in its infancy back then. But, in the interim, the parties litigated this case

through infringement contentions, invalidity contentions, written discovery, the substantial

completion of document production, and up to the start of Markman briefing. Juniper benefited

from that consolidated litigation and joint defense effort. But now, as the Markman hearing and

significant party depositions approach, Juniper seeks a stay that will delay discovery, result in

duplicative litigation, and delay a decision on the merits of the patent dispute. Such prejudice to

Implicit and tactical advantage to Juniper weigh against a stay.

       C.      The Status of Litigation Weighs Against a Stay

       The status of the case also weighs against a stay. This case is set for a Markman hearing

in March and trial in early July, the parties have engaged in written discovery, and substantial case

deadlines have passed. That includes, for example the deadlines to: (1) substantially complete

document production; (2) serve infringement and invalidity contentions; and (3) file the joint claim

construction statement. At this point, the scales weigh against a stay. See Pragmantus, 2013 WL

2372206, at *3 (“The Court thus finds that the stage of this litigation-with some important case

events still ahead, but with many having already been completed-weighs slightly against a stay”).

       Juniper also could have sought a stay much sooner—at least by May, 2019 when it filed its

first motion to transfer. It declined to do so. That fact further pushes against a stay. See Trover

Group, 2015 U.S. Dist. LEXIS 29572, at *11 (denying a stay where the defendant’s delay “allowed

the case to progress to a point at which the proceedings have become more active, and thus more

expensive, for the parties.”).




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       In sum, all three factors weigh against a stay, and Juniper does not meaningfully address

those factors in its Motion. Juniper instead relies on a number of cases that state that venue motions

are a priority. None of those cases, however, require a stay. This is Juniper’s second transfer

motion, filed only weeks ago. The cases Juniper cites do not speak to a situation where the briefing

on the transfer motion is not even complete and the stay could have been sought much sooner.

       That includes the Federal Circuit’s non-precedential Order in Fusion-IO.               Juniper

requested a stay over six months after it filed its initial motion to transfer—as the case is

approaching the Markman hearing and approximately six months before trial. At this point, the

stay is unlikely to simplify this case and is more likely to prejudice Implicit and provide Juniper

with a tactical advantage. Fusion-IO does not support a stay in these circumstances. See

Pragmantus, 2013 WL 2372206, at *5 (“[I]n light of the advanced posture of this case, the Court

also finds Defendant’s reliance on In re Fusion-IO [], unpersuasive … The defendant in that case

filed the motion to transfer early … Here, on the other hand, the Court has before it a renewed

Motion to Transfer, filed long after the case has been proceeding on the merits—many months

after the Court reviewed and denied Yahoo!’s first transfer motion, and after significant fact

discovery and other case events have taken place”) (italics in original).

V.     CONCLUSION

       Implicit respectfully requests that this Court deny Juniper’s motion to stay.




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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document and all attachments thereto are being
filed electronically in compliance with Local Rule CV-5(a). As such, this document is being served
this January 3, 2020, on all counsel of record, each of whom is deemed to have consented to
electronic service. L.R. CV-5(a)(3)(A).

                                                      /s/ Christian Hurt
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